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                     Exhibit 7
(Vladimir St. Louis Letter to Attorney Kirshner Detailing
Greenberg Discussion of His Scheme With Fellow Inmate)
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